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OFFICIAL ELECTION BULLETIN
November 77, 2020

 

TO: County Election Officials and County Registrars
FROM: Chris Harvey, Elections Division Director

RE: Open Records Requests — Security Information Exempt

 

Multiple counties have reported receiving Open Records Requests asking for data
information such as, copies of original software for the voting equiprnent, copies of any
software patches performed on Dominion voting machines in the State of Georgia prior
to tha November 3, 2020 General Election, as well as copies of any thumb drives provided
to you containing soflware or software updates.

several counties have also received Open Records Requests for the information
contained in ihe log files of ihe KNOWINK poll books, The information stared in the lag
files may nol be produced, as it contains information that is protected under the Georgia
Trade Secrets Act of 1990 and the Open Records Act.

Parties that have an interest in or are involved in active litigation with the State regarding
the security of the voting system might have made some of these requests. Even so, you
are still required to respond to the requests if they have been properly submitted.
However, you are expected to only produce whal is permitted under the Open Records
Act 0.0.6.4. § 50-18-72 and you may not produce any sensitive data that could harm
election security.

Under the Open Records Act, providing copies of software, software updates, or thurnb
drives containing software or software updates is not subject to open records requests.

In addition, information thal could harm ihe securily of election eculpment cannot be
provided. See O.0.G.A. § 50-18-72(25),

Additionally, 0.C.G.A. §21-2-379.24(g) indicates that “documents or information that, if
made public, would endanger the securily of any voting system used or being considered
for use in this state, or amy component thereof, including, but not limited to, electronic
ballot markers, DREs. ballot scanners, pollbooks, and software or data bases used for
voter registration, shall not be open for public inspection except upon order of a court of
competent jurisdiction.”

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if you have any questions about how fo respond to any open requests that you receive,
please contact your county altorney or your board of elections for advice. For additional
questions, you may also contact the Secretary of State's Office.

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